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SEP 22 2036)

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CLERK, U.S. DISTRICT COURT
United States District Court

Northern District of Illinois

)
)
Plaintiff )
, 23-cv-14001
: Judge Tharp, Jr
. ) Jr.
Mei 48h 4 PAtKag 7G ) Magistrate Judge Jantz
Defendant ) RANDOM/ CAT 1
COMPLAINT

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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Houston District Office
1919 Smith Street, 6th Floor
Houston, TX 77002

(346) 327-7700

Website: www.ceoc.gov

DETERMINATION AND NOTICE OF RIGHTS
(This Notice replaces EEOC FORMS 161, 161-A & 161-B)

issued On: 06/30/2023

To: Carol J. Jackson
10144 South Luella
CHICAGO, IL 60617

Charge No: 440-2022-05849

EEOC Representative and email: LETICIA FLORES
Investigator
Leticia.Flores@eeoc.gov

DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit. This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)

If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
court complaint to charge 440-2022-05849.

On behalf of the Commission,

Digitally Signed By:Rayford O. Irvin
06/30/2023

Rayford O. Irvin
District Director

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Ce:

Jessica Simons
Menasha Corporation
1645 Bergstrom Road
Neenah, WI 54956

Please retain this notice for your records.
